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 8

 9                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
10
     Blake and Jenna Miller, individually and on      Case No. 2:19-cv-01293-APG-VCF
11
     behalf of C.M., a minor child,
12                  Plaintiffs,
                                                        Stipulation and Order to Amend
13          v.                                        Discovery Plan and Extend Deadlines
                                                                (Fourth Request)
14   United States of America,
15                  Defendant.
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            Pursuant to Local Rules IA 6-1 and 26-4, Plaintiffs Blake and Jenna Miller,
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     individually and on behalf of C.M., and Defendant United States of America, through
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     counsel, submit the following Stipulation to Extend Deadlines 30 days. This is the fourth
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     request for an extension of case deadlines.
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     A.     Discovery Completed:
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            1.     The parties have exchanged Rule 26(a) disclosures and supplements.
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            2.     The United States has subpoenaed and received Plaintiffs’ medical records
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     from all known providers.
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            3.     The United States has served discovery requests (interrogatories and requests
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     for production) and Plaintiffs have responded to those requests.
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            4.     Defendant has responded to Plaintiffs’ discovery requests (interrogatories,
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     requests for production, and requests for admissions).
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 1          5.      Plaintiffs have deposed three treating providers.
 2          6.      Defendant’s IME expert has conducted a virtual IME of C.M.
 3          7.      The parties have designated and disclosed initial experts.
 4   B.     Need for Extension of Discovery Plan:
 5          On October 17, 2020, the parties made their initial disclosure of experts. Plaintiff
 6   designated 10 retained experts and Defendant designated 8 retained experts. The parties
 7   request a 30 day extension to the rebuttal expert discovery deadline to November 18, 2020,
 8   which will require a 30 day extension for the remaining discovery deadlines. The parties
 9   believe good cause exists for the brief extension of the rebuttal expert deadline to provide
10   time for the rebuttal experts to review the recently produced expert reports and provide
11   their rebuttals.
12   C. Proposed New Discovery Schedule:
13          1. Discovery Cutoff date: Discovery cutoff is currently scheduled for November 27,
14   2020, and will be continued to December 28, 2020.
15          2. Rebuttal Expert Disclosures currently due October 19, 2020, will be continued
16   to November 18, 2020.
17          3. Dispositive Motions: Dispositive motions are currently due December 17, 2020,
                                             1
18   and will be continued to January 27, 2020 which is 30 days after discovery cutoff.
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 1          4. Pretrial Order: A Joint Pretrial Order shall be filed by February 26, 2021, which
 2   is 30 days after the deadline for filing dispositive motions. However, if any dispositive
 3   motions are filed, then the Joint Pretrial order shall be due 30 days after decision on such
 4   motion(s). Disclosures under Fed. R. Civ. P. 26(a)(3) and any objections thereto shall be
 5   included in the Joint Pretrial order.
 6          Respectfully submitted this 29th day of September 2020.
 7    Whitehurst, Harkness, Brees, Cheng,               NICHOLAS A. TRUTANICH
      Alsaffar, Higginbotham & Jacob, PLLC              United States Attorney
 8

 9     /s/ Jamal Alsaffar                               /s/ Brianna Smith
      JAMAL ALSAFFAR                                    BRIANNA SMITH
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12    Attorneys for Plaintiffs
13

14                                               IT IS SO ORDERED:

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17                                               UNITED STATES MAGISTRATE JUDGE
                                                           10-2-2020
18                                               DATED:
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